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13   Gage Plaza LLC
14                             UNITED STATES DISTRICT COURT
15                            CENTRAL DISTRICT OF CALIFORNIA

16   ORLANDO GARCIA,                               )    Case No.: 2:21-cv-01515-FLA-SK
                                                   )
17           Plaintiff,                            )    JOINT STIPULATION FOR
     v.                                            )    DISMISSAL PURSUANT TO
18                                                 )
     GAGE PLAZA LLC, a Nevada Limited                   F.R.C.P. 41 (a)(1)(A)(ii)
     Liability Company,                            )
19                                                 )
             Defendants.                           )
20                                                 )
                                                   )
21
22          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between the
23   parties hereto that this action may be dismissed with prejudice as to all parties; each
24   party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as the
25   matter has been resolved to the satisfaction of all parties.
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27
28



     Joint Stipulation                            -1-           2:21-cv-01515-FLA-SK
 Case 2:21-cv-01515-FLA-SK Document 18 Filed 07/09/21 Page 2 of 3 Page ID #:73




 1   Dated: July 09,2021         CENTER FOR DISABILITY ACCESS
 2
 3                               By:   /s/ Amanda Seabock
                                       Amanda Seabock
 4                                     Attorneys for Plaintiff
 5
 6   Dated:                      SASOONESS LAW GROUP
 7
 8
                                 By:                     _______
 9                                     Shawn Sasooness
                                       Steven Ortiz
10
                                       Attorneys for Defendant
11                                     Gage Plaza LLC
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     Joint Stipulation                     -2-           2:21-cv-01515-FLA-SK
Case 2:21-cv-01515-FLA-SK Document 18 Filed 07/09/21 Page 3 of 3 Page ID #:74




          Pursuant to F.R.CIV.P.41 (a)(1)(A)(ii), IT IS STIPULATED by and between the
   parties hereto that this action may be dismissed with prejudice as to all parties; each
   party to bear his/her/its own attorneys’ fees and costs. This stipulation is made as the
   matter has been resolved to the satisfaction of all parties.




   Dated:                                 CENTER FOR DISABILITY ACCESS

                                   By:                       _______
                                          Amanda Seabock
                                          Attorneys for Plaintiff


   Dated:   7/8/21                        SASOONESS LAW GROUP


                                                By:                       _______
                                                        Shawn Sasooness
                                                        Steven Ortiz
                                                        Attorneys for Defendant
                                                           Gage Plaza LLC




   Joint Stipulation                            -2-               2:21-cv-01515-FLA-SK
